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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                              Judge William J. Martínez

Criminal Case No. 21-cr-337-WJM

UNITED STATES OF AMERICA,

       Plaintiff,

v.

JORGE HUMBERTO SIFUENTES-FELIX,

       Defendant.


               ORDER DENYING MOTION TO DISMISS THE INDICTMENT


       The Government charges Defendant Jorge Humberto Sifuentes-Felix with one

count of illegal reentry of a removed alien in violation of 8 U.S.C. § 1326(a), (b)(1).

(ECF No. 1.)

       Before the Court is Defendant’s Motion to Dismiss the Indictment (“Motion”) (ECF

No. 18), to which the Government filed a response in opposition (ECF No. 22). After

reviewing the parties’ submissions and attached evidence, the Court concludes no

evidentiary hearing is necessary to resolve the Motion.

       For the reasons set forth below, the Motion is denied.

                                    I. BACKGROUND 1

       Defendant was encountered in the District of Colorado on August 25, 2021, and

arrested by deportation officers with Immigration and Customs Enforcement (“ICE”)


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         Defendant includes no factual background in his Motion. (See ECF No. 18.)
Therefore, the Court takes the Background section from the Government’s response. (See ECF
No. 22.)
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following a traffic stop. In an interview with ICE officials, after receiving his Miranda

warnings, Defendant admitted he was a citizen of Mexico without any documents that

would allow him to enter or remain in the United States. Records show that Defendant

had been previously removed to Mexico on October 19, 2018, and thereafter reentered

the United States without proper consent from the United States government.

       Records checks confirmed Defendant had not applied nor received permission to

reenter the United States. The fingerprints of Defendant, taken on August 25, 2021,

were compared with the fingerprints taken when Defendant was removed in 2018. The

conclusion of the comparison was that both fingerprint impressions were taken from the

same person.

       Defendant was indicted on October 6, 2021, on a single count of illegal reentry of

a removed alien in violation of 8 U.S.C. § 1326 (a), (b)(1). (ECF No. 1.) Defendant also

has a supervised release revocation pending on a similar conviction, Criminal Case No.

17-cr-256-WJM.

                                       II. ANALYSIS

A.     Challenges to Section 1326

       Section 1326 makes it a crime for a non-citizen previously ordered removed from

the United States to reenter without proper authorization. (ECF No. 22 at 2.) In his

Motion, Defendant argues that Section 1326 was enacted with a discriminatory purpose

and therefore violates his right to equal protection under the Fifth Amendment and is

“presumptively unconstitutional.” (ECF No. 18 at 1.)

       Defendants across the United States have filed the same or similar motions to

dismiss indictments, invoking nearly identical grounds as in this case. (ECF No. 22 at

10 n.2 (citing cases).) The Government points out that as of the date it filed its


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response (December 8, 2021) only one court has ruled in favor of a defendant on this

matter: United States v. Carrillo-Lopez, --F. Supp. 3d--, 2021 WL 3667330 (D. Nev.

Aug. 18, 2021). 2 (Id.) By contrast, at least four district courts within the Tenth Circuit

have addressed the same issue, and all—including one in the District of Colorado—

have ruled against the defendants. See United States v. Maurico-Morales, 2022 WL

99996, at *1 (W.D. Okla. Jan. 10, 2022); United States v. Sanchez-Felix, 2021 WL

6125407 (D. Colo. Dec. 28, 2021), reconsideration denied, 2022 WL 159814 (D. Colo.

Jan. 18, 2022); United States v. Amador-Bonilla, 2021 WL 5349103, at *1 (W.D. Okla.

Nov. 16, 2021) United States v. Novondo-Ceballos, --F. Supp. 3d--, 2021 WL 3570229

(D.N.M. Aug. 12, 2021).

       Only one court in the Tenth Circuit—the sole decision from the District of

Colorado—has determined that strict scrutiny applies, see Sanchez-Felix, 2021 WL

6125407, at *3; the remaining courts have found that rational basis review applies.

Based on the citations in the case law, it appears as though the determination of what

level of scrutiny to apply differs among courts across the country. However, regardless

of which level of scrutiny is applied, the vast majority of courts examining the issue have

ultimately found that Section 1326 passes constitutional muster. As explained below,

this Court reaches the same conclusion.


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          The Court has not done an exhaustive review of the case law to determine whether
other courts have ruled in defendants’ favor on similar motions, but Carrillo-Lopez appears to be
an “outlier” among opinions considering the same issues. See United States v. Suquilanda,
2021 WL 4895956, at *5 (S.D.N.Y. Oct. 20, 2021) (describing Carrillo-Lopez as an outlier and
observing that the vast majority of courts that have considered this exact issue have upheld
Section 1326, and denying motion to dismiss indictment with respect to Section 1326
arguments).

       The Government appealed the order dismissing the indictment in Carrillo-Lopez on
August 19, 2021, Case No. 21-10233. The appeal remains pending as of the date of this Order.



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B.     Defendant’s Challenge to Section 1326

       Having reviewed the briefs and relevant legal authority, the Court concludes that

it will adopt the reasoning of Chief United States District Judge Philip A. Brimmer in

Sanchez-Felix, 2021 WL 6125407. Therein, Judge Brimmer concluded that the

constitutionality of Section 1326 should be considered under the strict scrutiny standard

addressed in Village of Arlington Heights v. Metropolitan Housing Development Corp.,

429 U.S. 252 (1977). See Sanchez-Felix, 2021 WL 6125407, at *3. Following an in-

depth analysis, Judge Brimmer determined that “[e]ven though defendant has shown

disparate impact, defendant has failed to show that the historical background and

events preceding the enactment of the [Immigration and Nationality Act (“INA”), Pub. L.

No. 82-414, 66 Stat. 163 (codified at 8 U.S.C. § 1, et seq.)] were the product of an

invidious motive . . . or that racism or discriminatory views pervaded public thought.” Id.

at *8. On this basis, Judge Brimmer denied the defendant’s motion to dismiss the

indictment. Id. He also concluded he need not conduct an evidentiary hearing. Id.

       Here, the Defendant has provided to the Court evidence of what he considers to

have been the discriminatory animus motivating the 1952 reenactment of Section

1326. 3 However, as the Government emphasizes, the vast majority of evidence of

racial animus and discriminatory intent in this case focuses on the Undesirable Aliens

Act of 1929 (“1929 Act”) and not the INA, which is the law Defendant is charged with

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         This evidence was not properly before Chief Judge Brimmer in Sanchez-Felix. The
defendant in that case did attempt to have this evidence, in the form of affidavits provided by S.
Deborah Kang, M.A., Ph.D., a professor at the University of Virginia, and Benjamin Gonzalez
O’Brien, M.A., Ph.D., a professor at San Diego State University, considered by the court. See
Sanchez-Felix, 2022 WL 159814, at *2. Judge Brimmer declined to reconsider his original
decision because the evidence was first presented in connection with a motion for
reconsideration. Id. at *3. However, in this case, this evidence is properly before the Court and
has been considered.



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violating. (ECF No. 22 at 13 (“Defendant’s challenge to § 1326 focuses almost entirely

on the legislative motives of the 1929 Congress, rather than the Congress that passed,

or the ones that repeatedly amended, § 1326. It must be reiterated that Defendant is

challenging the constitutionality of a repealed law.”).)

       As countless other courts have found, such evidence bears little weight on

Section 1326, which was officially reenacted as a felony offense in 1952 as part of the

broader INA. See Suquilanda, 2021 WL 4895956, at *5 (citing United States v.

Gallegos-Aparicio, 2020 WL 7318124, at *3–4 (S.D. Cal. Dec. 11, 2020); United States

v. Rios-Montano, 2020 WL 7226441, at *3 (S.D. Cal. Dec. 8, 2020)). Moreover, “this

provision has been modified a number of times since 1952 in order to enhance

penalties or otherwise rebalance the deterrent effect of the law.” Id.

       Accordingly, it is the discriminatory intent with respect to these later enactments

and amendments would be most relevant to a finding of discriminatory intent. See id.

However, based on the Court’s review of the arguments and evidence, the Court is not

persuaded that Defendant has carried his burden of showing that Section 1326 was

enacted, or later modified, with discriminatory intent. See id. (citing Gallegos-Aparicio,

2020 WL 7318124, at *3 (noting specifically the legislative history of the 1990

amendment which was void of evidence of discriminatory intent).

       Specifically, in the Motion, Defendant merely refers the Court to Carrillo-Lopez,

which as noted above found Section 1326 unconstitutional, and encourages the Court

to “adopt the factual findings of Carrillo-Lopez . . . regarding the 1952 reenactment.”

(ECF No. 18 at 18.) Defendant does not analyze any portion of Carrillo-Lopez, nor does

he specifically identify what evidence before that court is also before this Court which




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should persuade the undersigned to wholesale adopt Carrillo-Lopez’s “outlier” analysis.

He merely cites in footnotes what appear to be references to Carrillo-Lopez without

providing explanatory parentheticals or analysis. See Est. of McIntire ex rel. McIntire v.

City of Boulder, 61 F. App’x 639, 643 (10th Cir. 2003) (“It is not the responsibility of the

court to search the record to find justification for representations made in the briefs.”

(citations omitted)).

       “[The Court is] not charged with making the parties’ arguments for them.” Meyer

v. Bd. of Cnty. Comm’rs, 482 F.3d 1232, 1242 (10th Cir. 2007). Accordingly, this type of

cursory, conclusory argument does not cure Defendant’s Motion of the problems that

almost every other court addressing the exact issue has found fatal to that argument.

“A litigant who fails to press a point by supporting it with pertinent authority, or by

showing why it is sound despite a lack of supporting authority or in the face of contrary

authority, forfeits the point.’” Phillips v. Calhoun, 956 F.2d 949, 953-54 (10th Cir. 1992)

(quoting Pelfresne v. Village of Williams Bay, 917 F.2d 1017, 1023 (7th Cir. 1990)). The

Court finds Defendant’s failure to explain how the voluminous evidence he cites

supports his argument also dooms his argument.

       Moreover, it is worth noting that the defendant in Sanchez-Felix attempted the

same approach of encouraging adoption of Carrillo-Lopez, to no avail. Judge Brimmer

declined to adopt the factual findings in Carrillo-Lopez, stating that it would be

inappropriate to adopt the factual findings of another court. See Sanchez-Felix, 2021

WL 6125407, at *7 n.3. And, as here, Judge Brimmer observed that Sanchez-Felix had

not explained whether the court had the same evidence under consideration from which

it could draw the same conclusion as reached in Carrillo-Lopez. Finally, Judge Brimmer




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noted that “the only specific evidence of the use of the term ‘Wetback Bill’ in Carrillo-

Lopez is that of a single senator, who noted that ‘a Bill known as the Webtback Bill[ ]

was going to be debated.’” Id. (citation omitted). Ultimately, Judge Brimmer did not find

this evidence of sufficient probative weight to establish that Congress as a whole

enacted the INA with racial motives or intent. See id. (citation omitted). The Court

agrees with Judge Brimmer’s analysis on this issue.

       Therefore, based on the briefs and evidence before the Court, the undersigned

cannot conclude that Section 1326 was enacted with discriminatory intent and will deny

Defendant’s Motion.

                                    III. CONCLUSION

       For the reasons stated above, the Court ORDERS that Defendant Jorge

Humberto Sifuentes-Felix’s Motion to Dismiss the Indictment (ECF No. 18) is DENIED.


       Dated this 1st day of February, 2022.

                                                   BY THE COURT:




                                                   William J. Martinez
                                                   United States District Judge




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